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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

OLIVER LUCK,                                   :   CASE NO. 3:20-cv-00516-VAB
                                               :
                     Plaintiff,                :
v.                                             :
                                               :
VINCENT K. MCMAHON,                            :
                                               :
                     Defendant.                :   JUNE 17, 2020




     DEFENDANT VINCENT K. MCMAHON’S SUPPLEMENTAL MEMORANDUM IN
     OPPOSITION TO PLAINTIFF’S APPLICATION FOR PREJUDGMENT REMEDY


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           Luck’s argument is a desperate attempt to avoid the inescapable conclusion that Alpha is

an indispensable party and that he was properly terminated for Cause under the Employment

Contract.       This case is remarkably simple:             Luck’s Affidavit has admitted that McMahon

directed him to terminate Callaway and that Luck had an opportunity to instruct Callaway’s head

coach to terminate Callaway. The evidence is crystal clear that Luck did not terminate Callaway,

who was subsequently injured in practice, resulting in substantial costs to the XFL.1

           Faced with this certain evidence, Luck now takes the extreme position that McMahon

was obligated to pay him $35 million under the Guaranty no matter what—regardless of whether

Luck performed any work under the Employment Contract, committed acts that justified his

termination for Cause under the Contract, or himself decided to terminate the Contract

immediately after it was executed. Luck’s position is that the Guaranty was akin to a promissory

note that entitled him to receive $35 million no matter what he did. Given that view, it is no

wonder that Luck abandoned his duties as Commissioner and CEO of the XFL in March 2020.

           Luck’s absurd interpretation is directly contrary to the Guaranty, the Employment

Contract, and applicable Connecticut law. Luck does not and cannot cite a single case holding a

guarantor liable where the underlying contract was not breached by the obligor and no money

was actually owed under the underlying contract. To the contrary, Luck’s own cited cases

confirm that he must prove that he is owed money from Alpha under the Employment Contract

to establish a prima facie case for breach of the Guaranty. There is no need to consider the

Guaranty if he cannot meet that burden. Because Luck was terminated for Cause, there are no

payments owed by Alpha under the Contract and nothing for McMahon to guarantee.



1
    The evidence concerning the other grounds for Luck’s termination for Cause will be equally clear.



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I.      Luck’s Position Is Contrary To The Contract And The Guaranty.

        Luck erroneously argues that the Court should ignore the Employment Contract and treat

the Guaranty as if it were a standalone promissory note for a sum certain. As is made clear at the

beginning and the end of the Employment Contract, the Contract and the Guaranty are part of the

same agreement and must be considered together to determine whether any amounts are owed.

See Contract at 1 (providing that “[t]his Contract will be legally binding on and enforceable

against Mr. Luck and Alpha” upon execution of both the Contract and Guaranty attached as

Exhibit A to the Contract); id. at 5 (“This Contact, the Guaranty and the CNNA together embody

the entire understanding of Mr. Luck, Alpha, and Mr. McMahon.”). Indeed, Luck’s own cited

case states that “[s]ince the guaranty contract secures a principal or primary obligation, the

liability of the guarantor also depends upon a construction and application of the primary

contract.” TD Bank, N.A. v. Sch. St. Plaza, LLC, No. HHDCV106016282, 2012 WL 386467, at

*6 (Conn. Super. Ct. Jan. 10, 2012) (quotation marks omitted); Regency Sav. Bank v. Westmark

Partners, 59 Conn. App. 160, 164–65 (2000) (stating that when a contract and guarantee “are

connected by reference and subject matter, both are to be considered in determining the real

intent of the parties”).

        Here, the Guaranty expressly conditions McMahon’s liability under the Guaranty on

Alpha’s breach of the Employment Contract and its failure to pay amounts owed under the

Employment Contract. See Guaranty, Recitals (guaranteeing “the performance by [Obligor] of

its agreements and obligations under the Employment Contract”); id. ¶ 1 (guaranteeing “the due

and punctual payment a[n]d performance by the Obligor” under the Contract”); id. ¶ 2 (providing

that Guarantor’s obligations cease upon “the full performance by Obligor” of its obligations




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under the Contract). Because Alpha has paid Luck everything he is owed under the Employment

Contract, there is nothing due to Luck and therefore nothing for McMahon to guarantee.

          Luck’s position that McMahon’s obligations under the Guaranty are untethered to

Employment Contract would lead to patently absurd and unreasonable results.

         Luck’s interpretation would render the language of the Employment Contract superfluous
          and would make its detailed termination for Cause provisions completely pointless.

         Luck’s interpretation would mean that McMahon would be obligated to pay him the full
          $35 million regardless of whether he performed any work under the Contract or
          committed criminal acts that would justify his termination for Cause.2

         Luck’s interpretation would mean that he could terminate the Contract at any time and for
          any reason and still receive the full $35 million contrary to the provision limiting Luck’s
          entitlement to previously Accrued Obligations in the event Luck terminates the Contract
          “without Good Reason.” Contract at 4.

See Welch v. Stonybrook Gardens Coop., Inc., 158 Conn. App. 185, 198 (2015) (“We will not

construe a contract’s language in such a way that it would lead to an absurd result.”).

II.       Luck’s Position Is Contrary To Connecticut Law.

          Luck’s position is also contradicted by the Connecticut cases that he cites. Those cases

require a plaintiff to establish that the principal obligor has defaulted on the underlying contract

to hold a guarantor liable under a guaranty. See Perry v. Cohen, 126 Conn. 457, 459 (1940)

(stating that “default of the maker or indorser to pay the note” causes the guarantor to become

liable to the holder) (emphasis added) (quotation marks omitted); One Country, LLC v. Johnson,

137 Conn. App. 810, 816 (2012) (stating that a guarantor “contracts to fulfill an obligation upon

the default of the principal obligor”) (emphasis added) (quotation marks omitted).



2
  Luck’s suggestion that Court could decline to enforce the Guaranty on public policy grounds if Luck engaged in
criminal behavior misapprehends the law. A court can decline to enforce a contract on public policy grounds if the
contact itself requires an illegal act. See Carriage House I-Enfield Ass'n, Inc. v. Johnston, 160 Conn. App. 226, 245
(2015) (“Contracts that are illegal may defy public policy, in which case they are void and unenforceable.”).




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        Luck’s reliance on TD Bank, N.A. v. School Street Plaza, LLC illustrates the point. In

that case, the Court recognized that “a guaranty is an undertaking by a guarantor to answer for

payment of some debt, or performance of some contract, of another person in the event of

default.” 2012 WL386467 at *5 (emphasis added) (quotation marks omitted). The Court stated

that “[t]o establish a prima facie case of entitlement to recover on a guaranty, the plaintiff must

show (1) that it is owed a debt from a third party; (2) that the defendant made a guaranty of

payment of the debt; and (3) that the debt has not been paid by either the third party or the

defendant.” Id. at *5 (emphasis added) (quotation marks and alterations omitted). The plaintiff

must establish “that it is owed a debt from the borrower” because “the liability of the guarantor

is based on the liability of the debtor.” Id. at *6 (emphasis added) (quotation marks omitted).

        Luck wrongly claims that he has established a prima facie case merely because Alpha has

not made payments of amounts referenced in the Employment Contract. The failure to make

such payments does not constitute a default unless Luck establishes that they are actually owed

by Alpha under the Contract.           Because such payments are not owed because Luck was

terminated for Cause, McMahon is not liable under the Guaranty.3 See Local 1303-362 of

Council 4 v. KGI Bridgeport Co., No. 3:12CV1785, 2013 WL 4735584, at *7 (D. Conn. Sept. 3,

2013) (holding that plaintiffs could not establish breach of the guaranty because the plaintiffs

“have failed to establish the necessary predicate debt” and “[b]ecause there is no debt owed by

the third party, i.e., KGI Bridgeport, the City of Bridgeport cannot be liable as a guarantor”).

        Finally, Luck’s reliance on Connecticut cases enforcing waivers of defenses in guarantees

are entirely inapposite because there was no question in those cases that the primary obligor had


3
  Under Connecticut law, Luck also has the burden of proving that Alpha breached the Employment Contract by
terminating him without Cause, Madigan v. Hous. Auth. of E. Hartford, 156 Conn. App. 339, 355 n.2, 357 (2015),
which makes Alpha an indispensable party to this action.




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defaulted and a debt was owed to the plaintiff under the underlying contract. See One Country,

LLC, 137 Conn. App. at 816–21 (“[T]he defendants do not dispute that One Country, LLC was

indebted to the plaintiff at the time he made the $300,000 settlement payment to the bank.”).4

III.    Luck’s Position Is Contrary To New York Law Even If It Applied

        Although Luck’s reliance on New York law is misplaced because the Contract and the

Guaranty are governed by Connecticut law, Luck’s position is contrary to New York law as well.

        Luck disregards the Second Circuit case previously cited by McMahon that makes clear

that a waiver of defenses in a guarantee does not require a guarantor to pay the plaintiff for

amounts that are not actually owed under the underlying contract. See Chem. Bank v. Geller,

727 F.2d 61, 63–64 (2d Cir. 1984) (“Although the guarantees are ‘unconditional’ and without

regard to [debtor’s] defenses, they do not require the guarantors to pay [plaintiff] without

regard to the amount of [debtor’s] obligation.”) (emphasis added) (applying New York law).

        Luck also fails to recognize that the District Court’s decision in Ursa Minor Limited. v.

Aon Financial Products, Inc. contradicts his position. Although the Court there held that a

guarantee’s waiver of defenses foreclosed an argument that the underlying contract was invalid

or unenforceable, it recognized that the plaintiffs were still required to “demonstrate a prima

facie case against the debtor in order to recover” under the guarantee and that “[h]ere the record

reflects a prima facie case against the debtor, Escobel, whom both parties agree defaulted on the

Loan.” No. 00CIV-2474, 2000 WL 1010278, at *6–7 (S.D.N.Y. July 21, 2000).5

4
 See also Connecticut National Bank v. Douglas, 221 Conn. 530, 545 (1992) (holding that waiver of defenses in
guarantee precluded defendant from raising a defense based on the impairment of the secured collateral); Am. Oil
Co. v. Valenti, 179 Conn. 349, 352 (1979) (holding that guarantee precluded defendant from raising defense based
on entry of nonsuit in case against the principal debtor); Barclays Bus. Credit, Inc. v. Freyer, No. CV 960152347S,
1997 WL 255248, at *2 (Conn. Super. Ct. May 6, 1997) (applying Virgin Islands law to hold that waiver of
guarantee precluded defenses based on impairment of collateral, estoppel, and economic duress).
5
 The other New York cases cited by Luck enforcing waivers of defenses in guarantees are inapposite because there
was no question in those cases the plaintiff had met its prima facie burden of establishing that the debtor defaulted




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                                   CERTIFICATION OF SERVICE

        I hereby certify that, on June 17, 2020, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                          /s/ Jeffrey P. Mueller
                                                         Jeffrey P. Mueller (ct27870)




on the underlying contract. See Royal Equities Operating, LLC v. Rubin, 62 N.Y.S.3d 337, 338 (App. Div. 2017)
(enforcing guarantee where “plaintiff made a prima facie showing of the tenant’s default and the amount owed—
$1,740,818.60—under the lease’s accelerated rent provision” and “the guarantor defendants failed to refute
plaintiff's calculations as to the amount owed”); Mfrs. Hanover Tr. Co. v. Green, 464 N.Y.S.2d 474, 475–76 (App.
Div. 1983) (enforcing guarantee where defendant “does not deny that the partnerships defaulted on the loans which
are now due and payable”); Bank of N. Am. v. Shapiro, 298 N.Y.S.2d 399 (App. Div. 1969) (enforcing waiver of
defenses in guarantee against claim that an unpaid loan to the debtor was unauthorized).




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